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                                                      United States District Court
                                                      Central District of California


 UNITED STATES OF AMERICA vs.                                             Docket No.             ED CR 12-00092(B) VAP

 Defendant        [2] RALPH KENNETH DeLEON                                Social Security No. 2          2   0   2
 akas:    De Leon, Ralph; Raheem, Rafiq Abdul                             (Last 4 digits)

                                        JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                 MONTH     DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.       02     23      2015

  COUNSEL                                                      David J. Thomas, CJA, Appointed
                                                                          (Name of Counsel)

     PLEA            GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                             CONTENDERE             GUILTY
  FINDING         There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                 18 U.S.C. § 2339A, 18 U.S.C. 2339A(a), Conspiracy to Provide Material Support to Terrorists,
                 as charged in Count One of the Second Superseding Indictment;
                 18 U.S.C. § 956(a)(1), 18 U.S.C. §§956(a)(2)(A), (a)(2)(B), Conspiracy to Kill, Kidnap, and
                 Maim Persons in a Foreign Country, as charged in Count Three of the Second Superseding
                 Indictment;
                 18 U.S.C. § 1117, 18 U.S.C. 1117, Conspiracy to Murder, as charged in Count Five of the
                 Second Superseding Indictment.

JUDGMENT         The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/        contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM           Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER          custody of the Bureau of Prisons to be imprisoned for a term of:


It is ordered that the defendant shall pay to the United States a special assessment of $300, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Ralph Kenneth
Deleon, is hereby committed on Count 1, 3 and 5 of the Second Superseding Indictment to the custody of the
Bureau of Prisons for a term of 300 months. This term consists of 180 months on Count 1, and 300 months on each
of Counts 3 and 5, all to be served concurrently.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of Life. This term
consists of Life on each of Counts 1 and 3, and five years on Count 5 of the Second Superseding Indictment, all
such terms to run concurrently under the following terms and conditions:


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                 1. The defendant shall comply with the rules and regulations of the United States Probation Office and
                    General Order 05-02.

                 2. The defendant shall not commit any violation of local, state, or federal law or ordinance.

                 3. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
                    submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
                    tests thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

                 4. The defendant shall participate in an outpatient substance abuse treatment and counseling program
                    that includes urinalysis, breath and sweat patch testing, as directed by the Probation Officer. The
                    defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription
                    medications during the period of supervision.

                 5. During the course of supervision, the Probation Officer, with the agreement of the defendant and
                    defense counsel, may place the defendant in a residential drug treatment program approved by the
                    United States Probation Office for treatment of narcotic addiction or drug dependency, which may
                    include counseling and testing, to determine if the defendant has reverted to the use of drugs, and
                    the defendant shall reside in the treatment program until discharged by the Program Director and
                    Probation Officer.

                 6. As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the
                    defendant's drug dependency to the aftercare contractor during the period of supervision, pursuant
                    to 18 U.S.C. § 3672. The defendant shall provide payment and proof of payment as directed by the
                    Probation Officer.

                 7. During the period of supervision, the defendant shall pay the special assessment in accordance with
                    this judgment's orders pertaining to such payment.

                 8. When not employed or excused by the Probation Officer for schooling, training, or other acceptable
                    reasons, the defendant shall perform 20 hours of community service per week as directed by the
                    Probation Office.

                 9. The defendant shall cooperate in the collection of a DNA sample from the defendant.

             10. The defendant shall not associate with anyone known to him to be a member of Al Qa'ida, the
                 Taliban, or any affiliated organizations and others known to him to be participants in Al Qa'ida, the
                 Taliban, or any affiliated organization’s criminal activities. He may not wear, display, use or possess
                 any insignias, emblems, badges, buttons, caps, hats, jackets, shoes, or any other clothing that
                  defendant knows evidence affiliation with Al Qa’ida, the Taliban, or any affiliated organizations
                 and may not display any signs or gestures that defendant knows evidence affiliation with Al Qa’ida,
                 the Taliban or any affiliated organizations.




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                 11. As directed by the Probation Officer, the defendant shall not be present in any area known to him
                     to be a location where members of Al'Qa'ida or theTaliban and any affiliated organization meet or
                     assemble.

             12. The defendant shall comply with the immigration rules and regulations of the United States, and if
                 deported from this country, either voluntarily or involuntarily, not reenter the United States illegally.
                 The defendant is not required to report to the Probation Office while residing outside of the United
                 States; however, within 72 hours of release from any custody or any reentry to the United States
                 during the period of Court-ordered supervision, the defendant shall report for instructions to the
                 United States Probation Office located at: United States Court House, 3470 Twelfth Street, Plaza
                 Street Level, Riverside, CA 92501

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment
provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of
the Presentence Report by the treatment provider is prohibited without the consent of the sentencing judge.

On Government's motion, the underlying indictment, first superseding indictment, and Counts Two and Four of
the second superseding indictment, ORDERED dismissed.

The Court RECOMMENDS that the defendant be placed at a facility in the Southern California area, wherein he
will be allowed to participate in the 500 Hour Residential Drug Abuse Program (RDAP).

DEFENDANT INFORMED OF RIGHT TO APPEAL.



 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            February 26, 2015
            Date                                                  U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            February 26, 2015                               By    M. Dillard / W. Rogers
            Filed Date                                            Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:

 1.    The defendant shall not commit another Federal, state or local       10. the defendant shall not associate with any persons engaged in
       crime;                                                                   criminal activity, and shall not associate with any person
 2.    the defendant shall not leave the judicial district without the          convicted of a felony unless granted permission to do so by the
       written permission of the court or probation officer;                    probation officer;
 3.    the defendant shall report to the probation officer as directed by   11. the defendant shall permit a probation officer to visit him or her
       the court or probation officer and shall submit a truthful and           at any time at home or elsewhere and shall permit confiscation
       complete written report within the first five days of each               of any contraband observed in plain view by the probation
       month;                                                                   officer;
 4.    the defendant shall answer truthfully all inquiries by the           12. the defendant shall notify the probation officer within 72 hours
       probation officer and follow the instructions of the probation           of being arrested or questioned by a law enforcement officer;
       officer;                                                             13. the defendant shall not enter into any agreement to act as an
 5.    the defendant shall support his or her dependents and meet               informer or a special agent of a law enforcement agency
       other family responsibilities;                                           without the permission of the court;
 6.    the defendant shall work regularly at a lawful occupation unless     14. as directed by the probation officer, the defendant shall notify
       excused by the probation officer for schooling, training, or             third parties of risks that may be occasioned by the defendant’s
       other acceptable reasons;                                                criminal record or personal history or characteristics, and shall
 7.    the defendant shall notify the probation officer at least 10 days        permit the probation officer to make such notifications and to
       prior to any change in residence or employment;                          conform the defendant’s compliance with such notification
 8.    the defendant shall refrain from excessive use of alcohol and            requirement;
       shall not purchase, possess, use, distribute, or administer any      15. the defendant shall, upon release from any period of custody,
       narcotic or other controlled substance, or any paraphernalia             report to the probation officer within 72 hours;
       related to such substances, except as prescribed by a physician;     16. and, for felony cases only: not possess a firearm, destructive
 9.    the defendant shall not frequent places where controlled                 device, or any other dangerous weapon.
       substances are illegally sold, used, distributed or administered;




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             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


                   STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence:
                               Private victims (individual and corporate),
                               Providers of compensation to private victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.

                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                      to

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      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                       Date




                    U. S. Probation Officer/Designated Witness                      Date




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